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   1                     UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
   2                           WESTERN DIVISION
   3                                --oOo--
   4          BEFORE THE HONORABLE JEAN P. ROSENBLUTH, JUDGE
   5                                --oOo--
   6     ______________________________
                                       )
   7     HONG LIU,                     )
                                       )
   8               Plaintiff,          )
                                       )
   9           v.                      ) CASE NO.
                                       ) CV20-08035-SVW (JPRx)
  10                                   )
         FARADAY & FUTURE INC., et     )
  11     al.,                          )
                                       )
  12               Defendants.         )
                                       )
  13     ______________________________)
  14
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  16
  17     DUE TO COVID-19 PANDEMIC RULES, THIS REMOTE HEARING WAS
  18              CONDUCTED VIA COURTCALL TELECONFERENCE
  19                         Monday, April 26, 2021
  20                               8:33 a.m.
  21
  22
  23
  24
  25     REPORTED BY:    TERESA KENWORTHY, CSR No. 6673



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   1         REMOTE APPEARANCES VIA COURTCALL TELECONFERENCE
   2
   3     For the Plaintiff:
   4
                     SEIDEN LAW GROUP LLP
   5                 BY: AMIAD M. KUSHNER, ESQ.
                     BY: KEVIN D. HUGHES, ESQ.
   6                 22 Eighth Avenue, Suite 1704
                     New York, NY 10001
   7                 212-523-0686
   8
   9     For the Defendants:
  10
                     TROUTMAN PEPPER HAMILTON SANDERS LLP
  11                 BY: JEFFREY M. GOLDMAN, ESQ.
                     BY: PAUL B. GEORGE, ESQ.
  12                 BY: ALAN J. KESSEL, ESQ.
                     BY: KEVIN A. CRISP, ESQ.
  13                 BY: LAUREN E. GROCHOW, ESQ.
                     5 Park Plaza, Suite 1400
  14                 Irvine, California 92614-2545
                     949-622-2700
  15
  16
  17                              --oOo--
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   1          REPORTED REMOTELY VIA COURTCALL TELECONFERENCE
   2                       Monday, April 26, 2021
   3                               8:33 a.m.
   4          BEFORE THE HONORABLE JEAN P. ROSENBLUTH, JUDGE
   5                                --oOo--
   6            THE CLERK:    The United States District Court is
   7     now in session.   The Honorable Jean P. Rosenbluth,
   8     United States Magistrate Judge presiding.
   9            Calling Case No. CV20-08035-SVW (JPRx), Hong Liu
  10     versus Faraday & Future Inc., et al.
  11            Counsel, please state your appearances for the
  12     record.
  13            MR. KUSHNER:    Good morning, Your Honor. This
  14     is Amiad Kushner from Seidan Law Group for the
  15     plaintiff.
  16            THE COURT:    All right. Hello.
  17            MR. GOLDMAN:    Good morning, Your Honor. This
  18     is Jeff Goldman for defendants, Faraday & Future,
  19     Inc., Smart King Ltd.
  20            THE COURT:    Hello to you as well.
  21            MR. GEORGE:    Good morning, Your Honor. This is
  22     Paul George on behalf of defendants.
  23            THE COURT:    Hello.
  24            MR. KESSEL:    Good morning, Your Honor.
  25     Alan Kessel on behalf of defendants and counterclaimant.



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   1     any such motion which in any event would have to be
   2     decided by the district judge. And my job is just to
   3     assess what discovery is warranted in light of the
   4     current pleading and the current counsel, I guess I
   5     should say.
   6            And if you do file such a motion, right now it is
   7     speculative, but if you do file such a motion, you can
   8     always ask the district judge to stay my discovery
   9     order, but right now I'm just ignoring that.
  10            The same thing with your arguments about General
  11     Dynamics, that case says that in the situations that you
  12     have outlined, those claims have to be dismissed. Well,
  13     I don't know.   I did glance at some of the prior
  14     motions.   I don't recall seeing that you moved to
  15     dismiss on that basis, but if you had, I think the
  16     district judge must have denied it. But if you haven't,
  17     then again that's speculative. That's for the district
  18     judge to decide.
  19            And if you do file such a motion and/or if you
  20     got one pending and the judge grants it, then you can
  21     seek some kind of stay of my discovery order, but right
  22     now I'm ignoring that.
  23            As to plaintiff's waiver argument, clearly
  24     defense understands because they said they will produce
  25     some of this information. They do understand at least



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   1     to some degree some waiver has taken place.
   2              So we need to talk about when those documents are
   3     going to be produced, but I have to say I don't think
   4     the waiver is as limited as the defendants are trying to
   5     make it out to be.
   6              And certain of your counterclaims, like the fifth
   7     and the sixth counterclaims you are essentially saying
   8     that Mr. Liu did nothing right while he was there, and
   9     you are seeking disgorgement of all funds that you paid
  10     to him during his employment, which would seem to me to
  11     indicate that you are claiming that he did everything
  12     wrong.
  13              So it does seem to me that you can't -- you have
  14     waived the privilege issue pretty much to everything.
  15     And we can talk about that. But if you got rid of
  16     perhaps your fifth and sixth, and I would have to look
  17     back at some of the later counterclaims, maybe the
  18     waiver would be more limited, but right now it seems to
  19     me to be pretty broad.
  20              I don't understand -- and maybe since you folks
  21     agreed on it, I must be missing something, but I don't
  22     understand why at our last hearing we had to put off
  23     when the plaintiff's production that I granted was due,
  24     and I didn't see anybody address in their pleadings when
  25     plaintiff should have to produce the documents that I



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   1     previously ordered.    So we can talk about that.
   2            Again, this is what happens when there is a short
   3     briefing schedule and we are doing things on the fly,
   4     but defendants have made certain arguments about
   5     plaintiff failing to comply with Rule 37. I thought you
   6     had waived any such argument, because plaintiff was
   7     going to file an ex parte and then you agreed that you
   8     would not -- you could do something in between an
   9     ex parte and a fully noticed motion, which is that you
  10     are agreeing to have this expedited motion briefing
  11     schedule, and I made the point that, you know, that
  12     doesn't mean that he didn't create the crisis that is
  13     requiring this expedition. And I believe that
  14     defendants' counsel said, well, that's true, but we are
  15     agreeing to give that up, you know, we will agree to the
  16     briefing schedule.
  17            So I think your arguments about Rule 37 and meet
  18     and confer and all that are just out the window because
  19     you agreed to this.    I'm not sure why I agreed to it,
  20     because I spent a lot of time over the weekend working
  21     on this, but in any event that's about -- those are my
  22     conclusions.    And I'm happy to hear from anybody who
  23     wants to speak.    And again, please remember to introduce
  24     yourself.
  25            I should say one other thing. I am as I warned



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   1     the sixth counterclaims that would need to be dropped.
   2     And then I would think that the scope of the waiver is
   3     broader than you contend but less than everything.
   4            MR. GOLDMAN:   Broader in what sense?
   5            THE COURT:   Like I just said, that I think that
   6     they have a right to the stuff concerning Sidley and I
   7     think that they have a right also to any privileged
   8     stuff concerning Mr. Liu's termination, because in my
   9     mind that goes to -- could go conceivably to also
  10     encompass what he was hired to do, why he was being
  11     fired, what you think he hasn't done, et cetera,
  12     et cetera.
  13            So that to me then anything about his termination
  14     book ends would be the employment agreement.
  15            MR. KUSHNER:   This is Amiad Kushner again.
  16            Defendants' counsel is now raising hypotheticals
  17     about what might or might not happen if they might or
  18     might not drop claims. I think they are asking for an
  19     advisory opinion impermissibly.
  20            If they withdraw claims, we can deal with that,
  21     but at the moment all the counterclaims are there, at
  22     the moment they are blocking discovery of materials that
  23     Your Honor has noted they have waived through their
  24     counterclaims.
  25            THE COURT:   Right.



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   1              Wait, I need to get off the phone. So it is
   2     clear to me that you folks need to meet and confer. You
   3     need to figure out what you are going to do about this.
   4              And again, we can't go into all this right now,
   5     but if defendants drop claims five and six, I'm happy to
   6     define what I then think is the scope of the waiver of
   7     the privilege would be, but I'm going to set dates, but
   8     I need to wrap this up unfortunately.
   9              MR. KESSEL:    Your Honor, Alan Kessel. One last
  10     question.
  11              If we stipulate or get a ruling from Judge Wilson
  12     that limits counterclaims five and six the way that we
  13     have delineated both in the complaint and in the
  14     opposition, can we also come back to you to in that
  15     sense to further define what's required to be produced
  16     on our end?
  17              THE COURT:    You can, but I don't feel that I
  18     have much else I can do other than set some dates
  19     before Judge Wilson rules.
  20              For all I know he is going to issue an order
  21     today on plaintiff's motion to dismiss the
  22     counterclaims.    I just don't know. So a lot of moving
  23     parts.    I can only do -- as the plaintiff is correct, I
  24     can only rule on what's before me now. And then if
  25     things change based on what Judge Wilson does, please



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   1      call free to call Ms. Martinez.
   2               But be mindful, please, that we work with all the
   3      district judges and we all have different ways of doing
   4      things.
   5               I am going to be reluctant to issue any kind of
   6      order that, you know, more than minimally interferes
   7      with schedules that Judge Wilson has set. So just keep
   8      that in mind.
   9               So here's what I'm going to do, here's what I am
  10      going to do:    So first, the plaintiff's previously
  11      ordered production all of it must be completed by this
  12      Thursday, which is April 29th.
  13               The privilege waiver production that defendants
  14      agreed to in their filing must be completed by
  15      April 30th.
  16               If defendant filed some -- my order about -- look
  17      I'm sorry, I'm getting ahead of myself.
  18               The production of all other stuff being withheld
  19      as privileged concerning anything relating to Mr. Liu's
  20      employment with defendants is due by May 5th. I'm
  21      staying that order until April 28th for defendants
  22      either to -- well, you folks are ordered to meet and
  23      confer either today or tomorrow -- well, I will say
  24      today.    You are ordered to meet and confer today. And
  25      if you can reach some sort of agreement about amending



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   1      the counterclaims, fine. You have to get that on file
   2      before Wednesday.    If you can't, then defendants have
   3      until Wednesday to file something before Judge Wilson
   4      that they deem appropriate seeking a further stay and
   5      seeking to amend the counterclaim.
   6               I should also say, too, you know, under whatever
   7      it is, Local Rule -- I'm sorry, I can't remember what it
   8      is off the top of my head, but you can seek review of my
   9      order entirely before the district judge. That rule
  10      gives you 14 days to do that, but you would have to do
  11      it earlier, because I am -- given the late stage of
  12      these proceedings, I'm setting dates that fall before
  13      that.
  14               Again, I'm not telling you what to do, but that's
  15      another option for you.
  16               And if Judge Wilson issued some kind of ruling
  17      somewhere along the way that you think would change how
  18      I dealt with this stuff, you can call up Ms. Martinez
  19      and we can try to set something up, but again, I am
  20      going to be hesitant to do anything that interferes with
  21      his schedule and by that when I extend things out to
  22      produce discovery, that essentially interferes with his
  23      schedule.
  24               So is that clear?
  25               And I will say, too, and again plaintiff is right



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   1      this is sort of advisory at this point, but if you drop
   2      the fifth and sixth counterclaims entirely, it would
   3      seem to me that the waiver of the privilege would be
   4      more limited and it would be broader than -- again,
   5      broader than defendants conceded it would be the stuff
   6      they already concede, plus anything from Sidley relating
   7      to, you know, how Mr. Liu was hired and the employment
   8      agreement and anything relating to his termination.
   9             All right.
  10             MR. GOLDMAN:   This is Jeff Goldman, just two
  11      points of clarification, please, before we get off.
  12             THE COURT:   Sure.
  13             MR. GOLDMAN:   With respect to the documents
  14      that are on the privileged log that will be produced
  15      in the event we don't reach a stipulation or dismiss
  16      our claims, we just want to make clear that the
  17      privilege log has a lot of documents that don't really
  18      relate to Liu but are between other people.
  19             THE COURT:   Right.
  20             MR. GOLDMAN:   So it is not everything, it is
  21      just stuff that relates to Liu?
  22             THE COURT:   Yes, I was trying to say that. I
  23      maybe wasn't very articulate.
  24             MR. GOLDMAN:   I just wanted to make it clear.
  25      That's all.



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   1               With respect to Sidley, we would strongly contest
   2      that that's been waived. The internal communications
   3      between my client and Sidley are not waived.
   4               All that's been produced in this case about text
   5      messages between Mr. Liu and the lead negotiator for our
   6      client with respect to the negotiation of the employment
   7      agreement, and while certain topics were identified as
   8      to what was under review, certainly the content was
   9      never disclosed, nor the content of the defense to any
  10      other of the causes of action.
  11               THE COURT:   You have represented and plaintiff
  12      quoted these portions, I would have to find it, but
  13      you have represented that Sidley said this or Sidley
  14      only did that, whatever, they have a right to test
  15      that.    So you can't make representations and say all
  16      Sidley did was this.     They get to see what your
  17      communications were with Sidley at the time to make
  18      sure that's accurate.
  19               MR. GOLDMAN:   This is Jeff Goldman.
  20               The representations that were made were
  21      descriptions of the text messages that were produced.
  22      We agree that the text messages are fair game leading up
  23      to the negotiations, but the substance of the
  24      conversations, those are privileged. That has not been
  25      waived in any respect.



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   1              THE COURT:   Why not? I don't understand why
   2      not.
   3              MR. GOLDMAN:   Because there is a difference
   4      between the subject matter and the content. If we
   5      told Mr. Liu for example, hey, I sent the agreement to
   6      Sidley, they are looking at it for one issue. That
   7      doesn't mean you get to say, okay, let me see what
   8      Sidley's legal advice was on that issue. It means I
   9      guess the fact that it was being sent is at issue, but
  10      it is not really relevant to the claim, because any
  11      advice and the fact of the communication is not a
  12      defense to the claims that we brought for Mr. Liu's
  13      ethical violations.
  14              THE COURT:   But why is it not, because you are
  15      saying he violated all sorts of ethical stuff? What
  16      if your communications with Sidley include Sidley
  17      saying, oh no, this wouldn't be an ethical violation.
  18      I don't know.
  19              MR. GOLDMAN:   Because Sidley's advice about
  20      whether something is or is not an ethical violation
  21      even assuming that exists is irrelevant as to whether
  22      Mr. Liu gave the proper disclosures before he got
  23      consent.   It is an objective standard.
  24              THE COURT:   Well, I am not sure I think it is
  25      irrelevant.   You are very right that maybe it is



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   1      inadmissible, but that's different.
   2               MR. GOLDMAN:   Well, it is privileged.
   3               THE COURT:   But it is a question of whether you
   4      waived that privilege, because you are asserting that
   5      in the employment contract Mr. Liu violated all sorts
   6      of ethical canons.
   7               He claims that he told you -- or it wasn't in
   8      writing I guess, but he said or somebody said, we are
   9      going to get Sidley to look this over and decide, you
  10      know, whether the employment -- if there's any conflict,
  11      et cetera.    And so it seems to me that he has a right to
  12      know and that you by claiming that he violated all these
  13      ethical rules, including that he didn't put in writing
  14      that you should get some outside counsel to look at it
  15      or whatever, that he has a right to see what went on
  16      between you and Sidley, that you waived that privilege.
  17               MR. GOLDMAN:   Your Honor, this is Jeff Goldman
  18      again.
  19               It is not a waiver and it is not relevant. He is
  20      the one that produced the text messages and decided to
  21      include them in the motion to the Court. This is the
  22      problem with doing all this on a truncated notice. He
  23      is the one that provided those communications to the
  24      Court to show that there was some discussion with
  25      Sidley.    It is not a defense to anything.



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   1               THE COURT:   I've got to go.
   2               Plaintiff is right that right now this is all
   3      advisory, because I am finding that all of the privilege
   4      is waived based on the fifth and sixth counterclaims.
   5               I can't decide this issue right now. I've got to
   6      say I tend to think you are wrong, but right now it is
   7      advisory anyway.
   8               If something happens and you need to come back to
   9      me on that one limited issue, we can do that, but I'm
  10      still leaving those dates for production in place.
  11               So if you come back to me in five days because
  12      you guys have stipulated or you have dismissed your
  13      counterclaims or they have been amended or whatever and
  14      I take up this issue, I'm still leaving that May 5th
  15      date.
  16               So even if I don't get you on the phone until
  17      May 3rd, if I find that you are wrong, you are going to
  18      have to produce by May 5th. All right?
  19               MR. KUSHNER:   Thank you, Your Honor.
  20               MR. GOLDMAN:   Thank you, Your Honor.
  21               THE COURT:   All right. Okay.
  22               Let me just look at my notes to make sure there
  23      is nothing else.
  24               And please if I have not covered something that I
  25      should have, please let me know, but I think I have



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   1      covered everything.
   2             And I'm sorry to rush you folks along.
   3             All right.   So nothing further from anyone?
   4             MR. GOLDMAN:   No, Your Honor, not for the
   5      defendants.
   6             THE COURT:   All right. Thank you, we will get
   7      our minutes out as soon as we can.
   8             MR. KUSHNER:   Thank you, Your Honor.
   9             MR. GOLDMAN:   Thank you, Your Honor.
  10             (Time noted:   9:16 a.m.)
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                                    --oOo--
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   1      STATE OF CALIFORNIA
   2      COUNTY OF PLACER
   3
   4               I, TERESA KENWORTHY, Certified Shorthand
   5      Reporter, in and for the State of California,
   6      Certificate No. 6673, do hereby certify:
   7                That said proceedings were taken before me
   8      at the time and place therein set forth and were taken
   9      down by me in shorthand and thereafter transcribed
  10      into typewriting under my direction and supervision;
  11               I further certify that I am neither counsel
  12      for, nor related to, any party to said action, nor in
  13      any way interested in the outcome thereof.
  14               In witness whereof, I have hereunto
  15      subscribed my name.
  16
  17      Dated: April 27, 2021
  18
  19
  20
  21      _____________________________________
  22      Teresa Kenworthy, CSR No. 6673
  23
  24
  25



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